Case 1:20-cv-03881-JSR Document 60 Filed 11/02/20 Page 1 of 1
Case 1:20-cv-03881-JSR Document 58 Filed 10/29/20 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

BRUCE HALLETT,

Plaintiff,
-against-

STUART DEAN CO., INC, ADRIENE
BAILEY, individually, THOMAS BROWN,
individually, © MARGARET CULLEN,
individually, SCOTT DAY, individually,
CHRIS DEGAN, individually, CATHLEEN
DEGAN-NIKAS, __ individually, SCOTT
HALSTEAD, individually, © TIMOTHY
SHEA, _ individually, and KRISTEN
SCHORP, individually,

Civ. No.: 1:20-cv-03881 (ISR)

Defendants.

 

pherestir ORDER PURSUANT TO FEDERAL RULE OF EVIDENCE 502(d)
Hon. Jed S, Rakoff, United States District Judge:

The production of privileged or work-product protected documents, electronically stored
information (“ESI”) or other information, whether inadvertent or otherwise, is not a waiver
of the privilege or protection from discovery in this case or in any other federal or state
proceeding. This Order shall be interpreted to provide the maximum protection allowed by
Federal Rule of Evidence 502(d).

Nothing contained herein is intended to or shall serve to limit a party’s right to conduct a
review of documents, ESI or information (including metadata) for relevance,
responsiveness and/or segregation of privileged and/or protected information before
production.

A
SO ORDERED THISSCDAY OF O,tehe, 2020,
hdd

Hon. Jed S. RaketfY
United States District Judge

 
